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               EXHIBIT A
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January 27, 2025

Delivered by email to Mitchell Warren, AVAC

Subject:       Order to Suspend Work - 2 CFR § 700.14

Reference:     AID-OAA-A-16-00031, Coalition to Accelerate & Support Prevention Research (CASPR)
               Cooperative Agreement

Executive Order Reevaluating and Realigning United States Foreign Aid

Dear AVAC:

In accordance with President Trump’s Executive Order entitled Reevaluating and Realigning United
States Foreign Aid with additional guidance per the USAID Notice issued to Implementing Partners on
January 24, 2025, and pursuant to 2 CFR § 700.14 Award Suspension and Termination (incorporated in
Standard Provision M.10 for Non-U.S. NGOs), the Agreement Officer hereby issues an order for the
recipient to immediately suspend work under this cooperative agreement, including sub-contracts and
sub-awards. All awards are to cease implementation immediately as of today, January 27, 2025.

Therefore, upon receipt of this Stop/Suspend Work order, the Recipient must immediately
comply with the terms of this order and take ALL reasonable steps to minimize the incurrence of costs
allocable to the work covered by the order during the period of work stoppage.

The recipient shall not resume work under this cooperative agreement until notification has been
received in writing from the Agreement Officer that this Suspend Work Order has been canceled.

Please confirm your receipt and agreement with this Suspend Work Order by completing and returning
the acknowledgement below. Should you have questions concerning this letter, please contact me at
efortson@usaid.gov. We will follow up with further guidance as soon as possible.

Sincerely,

ELTON E Digitally
        by ELTON E
                  signed

FORTSO FORTSON
        Date: 2025.01.27
N       15:16:43 -05'00'

Elton E. Fortson
Agreement Officer

USAID cc: Ashley Lima, Agreement Officer’s Representative
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Acknowledgment of Receipt

I, _______________________________________, acknowledge receipt of this Stop/Suspension
of Work Order and confirm compliance with the instructions outlined herein.


Signature: __________________________________

Name: _____________________________________

Title: ______________________________________

Date: _____________________
